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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


ELLA ABADIR,
                      Plaintiff,
                                                                   14-CV-0855WMS(HKS)
         vs.
                                                                  NOTICE OF MOTION FOR
CENTER ONE, LLC,                                                  AN ADVERSE INFERENCE
                      Defendant.



         PLEASE TAKE NOTICE, hereby given, that upon the annexed affirmation of Anna

Marie Richmond, together with the exhibits annexed thereto and referenced therein, and upon the

affidavit of Ella Abadir filed in opposition to Defendant’s Motion for Summary Judgment (Item

No. 43), Plaintiff will move this Court for an adverse inference to be drawn from Defendant’s

failure to preserve audio and video recordings, and failed to preserve documentary evidence

supporting Defendant’s assertion that 33 of Plaintiff’s subordinates complained about her in

2012.

DATED:         May 15, 2017
               Buffalo, New York

                                                                   /s/ Anna Marie Richmond
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